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                                IN THE UNITED STATES BANKRUPTCY COURT
                                     FOR THE DISTRICT OF DELAWARE

                                                                              )
    In re:                                                                    )     Chapter 11
                                                                              )
    YELLOW CORPORATION, et al., 1                                             )     Case No. 23-11069 (CTG)
                                                                              )
                                 Debtors.                                     )     (Jointly Administered)
                                                                              )     Re: Docket No. 1285

              NOTICE OF FILING OF ASSET PURCHASE AGREEMENT DATED AS OF
             DECEMBER 8, 2023 BETWEEN THE DEBTORS AND GPSS HOLDINGS, LLC

        PLEASE TAKE NOTICE that, on September 15, 2023 the Court entered that certain Order (I)(A)
Approving Bidding Procedures for the Sale or Sales of the Debtors’ Assets; (B) Scheduling Auctions and
Approving the Form and Manner of Notice Thereof; (C) Approving Assumption and Assignment Procedures
(D) Scheduling Sale Hearings and Approving the Form and Manner of Notice Thereof; (II)(A) Approving
the Sale of the Debtors’ Assets Free and Clear of Liens, Claims, Interests, and Encumbrances and (B)
Approving the Assumption and Assignment of Executory Contracts and Unexpired Lease; and (III)
Granting Related Relief [Docket No. 575] (the “Bidding Procedures Order). 2

         PLEASE TAKE FURTHER NOTICE that the Debtors commenced the Auction for Real
Property Assets on November 28, 2023 and completed bidding for those certain Real Property Assets set
forth in the Notice of Winning Bidders and, if Applicable, Back-up Bidders with Respect to Certain of the
Debtors’ Real Property Assets [Docket No. 1268] (the “Notice of Winning Bidders”) filed on December 4,
2023, including, among others, those Real Property Assets which are the subject of the GPSS Asset
Purchase Agreement (defined below).

        PLEASE TAKE FURTHER NOTICE that, on December 6, 2023, the Debtors filed the proposed
Order (I) Approving Certain Asset Purchase Agreements; (II) Authorizing and Approving Sales of Certain
Real Property Assets of the Debtors Free and Clear of Liens, Claims, Interests, and Encumbrances, in Each
Case Pursuant to the Applicable Asset Purchase Agreement; (III) Approving the Assumption and
Assignment of Certain Executory Contracts and Unexpired Leases in Connection Therewith, in Each Case
as Applicable Pursuant to the Applicable Asset Purchase Agreement; and (IV) Granting Related Relief
[Docket No. 1285] seeking authorization, among other things, to enter into the GPSS Asset Purchase
Agreement.

        PLEASE TAKE FURTHER NOTICE that attached at Exhibit A hereto is a true and correct
copy of that certain Asset Purchase Agreement Dated as of December 9, 2023 Between GPSS Holdings,
LLC, as Purchaser, and Yellow Corporation and its Subsidiaries Named Therein, as Sellers (as may be
amended, modified, or supplemented from time to time, including all exhibits and schedules thereto, the
“GPSS Asset Purchase Agreement”).



1      A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’ claims and
       noticing agent at https://dm.epiq11.com/YellowCorporation. The location of the Debtors’ principal place of business and the
       Debtors’ service address in these chapter 11 cases is: 11500 Outlook Street, Suite 400, Overland Park, Kansas 66211.
2      Capitalized terms used in this notice but not defined herein shall have the meanings ascribed to them in the Bidding Procedures
       Order or the Notice of Winning Bidders, as applicable.
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Dated: December 8, 2023
Wilmington, Delaware

/s/ Laura Davis Jones
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